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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DISTRICT


UNITED STATES OF AMERICA,

                  Plaintiff.

                                               Case No. 21-cr-20650

                                               Hon. Laurie J. Michelson
v.


D-2 DANIEL S. VICKERS,

            Defendant.
__________________________/


         SENTENCING MEMORANDUM FOR DEFENDANT
                    DANIEL S. VICKERS


 “Before this I had never been charged with a felony or misdemeanor. I was
             suspended one day in my life from work or school.”

                                               Daniel Vickers


                               INTRODUCTION

      Daniel Vickers is scheduled to be sentenced by Your Honor on March

14, 2023, following his plea of guilty to Count 1 of an Indictment charging

Conspiracy to Accept Bribes, pursuant to 18 U.S.C. § 371 and 666(a)(1)(B).

His plea was taken pursuant to a Rule 11 Plea Agreement and under the terms
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of the Rule 11 Plea Agreement, the parties have agreed that the sentencing

shall be determined by this Honorable Court.

      Mr. Vickers will come before this Court for sentencing in connection

with the worst mistake of his life; participating in a scheme with his

childhood friend and Detroit Police Lieutenant John Kennedy and going

along with Kennedy to accept bribes on behalf of towing companies to obtain

unauthorized tows and preferential treatment for towing vehicles in the City

of Detroit. Mr. Vickers used his position with the Detroit Police Department

to commit this criminal activity.

      While not to minimize the gravity of this matter, it is important to note

that these illicit transactions are the only blemishes to his more than 30 year

career with the Detroit Police Department.

      The purpose of this memorandum is to urge the Court to: sentence the

defendant below his guideline range. While this memorandum is not meant

in any way as justification for the behavior associated in this matter, the

circumstances and defendant’s background are important in this Court’s

decision in determining what type and length of sentence is sufficient, but

not greater than necessary to comply with the statutory directives set forth

in 18 U.S.C. § 3553(a).
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                      PRELIMINARY STATEMENT

      Mr. Daniel Vickers is 56 years old, a husband and devoted father of 14

year old Daniel Vickers, Jr. Mr. Vickers is a father wo is hands-on, being there

for his son as a provider, assisting him with his homework, or just showing

love, compassion and concern on a daily basis. He is also the primary

caretaker of his mother, Francis Vickers, who resides with him and his

family. She requires assistance because of her illness and requires oxygen

24/7. Mr. Vickers also has had a motorcycle accident in 2004, while on duty

which required surgery to repair his ankle and left significant injuries to his

arms and legs.

      More recently, Mr. Vickers had gastric bypass surgery and currently

suffers from diabetes and high blood pressure. These are serious health

concerns that continue to impact his life.

      Daniel Vickers served the Detroit Metropolitan community for over 30

years in his capacity as an officer with the Detroit police Department. He

served it with professionalism, compassion and responsibility. For over a 30

year career Mr. Vickers had been a highly respected officer in the Detroit

Police Department. This conduct has been the only mark on a distinguished

career.
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      Mr. Vickers has accepted responsibility for his actions, has been

introspective about his criminal activity and has shown genuine remorse for

his actions.

      He has a supportive network of family members and friends who have

provided support throughout his life. He will need this love and support to

live a productive life.

                                   FACTS

      The PSI in this matter aptly describes the conduct of Mr. Vickers, his

co-defendant, John Kennedy and the conspiracy for which he was involved

regarding the solicitation of bribes from Tower A for preferential treatment

in towing cars in the City of Detroit. Mr. Vickers would assist Tower A in

getting tows which were unauthorized.

 DEFENSE OBJECTION TO THE SCORING OF A FOUR LEVEL
ENHANCEMENT, PURSUANT TO USSG SEC. 2C1.1(b)(1)(C) FOR
             BRIBES EXCEEDED $15,000.

      Mr. Vickers sentencing guidelines as scored by probation in the PSR

are 30-37 months. This scoring was based upon an adjusted base offense

level of 24, which included a four level increase for the fact that he is being

charged as an intermediary between Kennedy and Tower A regarding

Kennedy’s acceptance of a vehicle and bribes from Tower A. It is our
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argument that the total offense level should be at 15, which means his

guidelines would be 18 to 24 months.

      The reason that it was not objected to within the required time

necessary for objections to the pre-sentence report is that we did not receive

the report in adequate time to object and we believe this shows good cause

for this Honorable to entertain this objection.

                            18 U.S.C. § 3553(a)

      18 U.S.C. § 3553(a) requires a sentencing judge to consider:

(1) the nature and circumstances of the offense and the history and

characteristics of the defendant;

(2) the need for the sentence imposed; to reflect the seriousness of the

offense, to promote respect for the law, and to provide just punishment for

the offense. To afford adequate deterrence to criminal conduct, to protect the

public from further crimes of the defendant and to provide the defendant

with needed educational or vocational training, medical care, or other

correctional treatment in the most effective manner.

(3) the kinds of sentences available;

(4) the kinds of sentence and the sentencing range established for the

applicable category of offense committed by the applicable category of

defendant as set forth in the guidelines...;
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(5) any pertinent policy statement issued by the Sentencing Commission…;

(6) the need to avoid unwarranted sentence disparities among defendants

with similar records who have been found guilty of similar conduct; and

(7) the need to provide restitution to any victims of the offense

A. The nature and circumstances of the offense

      Daniel Vickers, as a Detroit Police Officer participated in a scheme with

his co-defendant in this matter, Detroit Police Lieutenant John Kennedy to

accept bribes on behalf of a towing company (Tower A) to obtain

unauthorized tows and preferential treatment for towing vehicles in the City

of Detroit. Mr. Vickers and co-defendant obtained cash, automobiles, auto

repair and other illegal benefits for their assistance to Tower A.

      Mr. Vickers used his position with the Detroit Police Department to

commit this criminal activity.

B. The history and characteristics of the defendant

      As indicated within the presentence report, Mr. Vickers has had a

stable childhood as he was raised in a loving and caring home environment.

Mr. Vickers has had only one job in his entire life. He joined the Detroit

Police Department after graduating from high school. Mr. Vickers was a

Detroit Police Officer for over 30 years, and outside of the instant offense

served his community honorably.
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      In applying the facts of this case to the above factors, Mr. Vickers would

respectfully request that the Court consider the following:

      ·     With regard to the Defendant’s prior record, Mr. Vickers has had

            no contacts with the criminal justice system, as a juvenile nor as

            an adult.

      ·     This series of events occurred at the tail end of a career in law

            enforcement with an otherwise unblemished record.

      .     With regard to Mr. Vickers rehabilitative potential, there really

            should be no question that this has truly impacted his life. He

            realizes that he has made a mistake, and has taken responsibility

            for his actions, as shown by his plea to the charge in the

            Indictment.

      .     Mr. Vickers has complied with all of the terms of his pretrial

            release, and as such, has shown that he can comply with any

            orders as issued by this Honorable Court.

      ·     Mr. Vickers, by his own history and attestation, is highly unlikely

            to offend again.

      .     Regarding support, as previously stated, he has the support of

            many who know and love him.
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C. The kind of sentences available/Protection of the Public from

Further Crimes

      There is no argument that Mr. Vickers falls within a guideline range

that includes incarceration. Mr. Vickers acknowledges and understands the

seriousness of the offenses that he perpetrated and that he is facing a prison

sentence.

      Mr. Vickers has shown that his ability to be rehabilitated is high and

that his risk for recidivism is low based upon his history. A just sentence for

this Court to consider would be below the stated guidelines.

D. The sentencing guideline range

      Mr. Vickers has requested that the appropriate guideline range in this

matter is 18 to 24 months. This is based upon his objection to the four level

enhancement pursuant to USSG Sec. 2C1.1(b)(1)(C).

E. The need to avoid unwarranted sentencing disparities

      This was an investigation which was titled “Operation Northern Hook.”

Other individuals who have been sentenced in this scheme have been: Alonzo

Jones, a Detroit Police Officer who received 15 months; former Detroit City

Councilman Andre Spivey who received 24 months for his conduct; and co-

defendant John Kennedy, who has yet to be sentenced in his case.
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      F. The need to provide restitution

      It has been determined that restitution is not applicable in this matter.

2. United States Supreme Court Case Law

      In United States v. Booker, 543 US 220 (2005), the United States

Supreme Court found those provisions of the Federal Sentencing Reform Act

of 1984 that make the guidelines mandatory, or which rely upon the

Guidelines mandatory nature, incompatible with its Sixth Amendment

holding of Blakely v. Washington, 542 US 296 (2004). Accordingly, the Court

severed and excised those provisions, “mak[ing] the Guidelines effectively

advisory.” Therefore, instead of being bound by mandatory sentencing

guidelines, Booker merely required a sentencing judge to first consider the

guideline range and then impose a reasonable sentence pursuant to 18 USC

§3553(a).

      The sentencing guidelines were again discussed by the Court in Gall v.

United States, 128 S Ct 586 (2007). In Gall, the Court set forth a number of

important principles. First, the Court made clear that the sentencing

guidelines are merely advisory and that appellate review is limited to the

issue of “reasonableness:”

      As a result of our decision [in Booker], the Guidelines are now advisory,
and appellate review of sentencing decisions is limited to determining
whether they are “reasonable.” Our explanation of “reasonableness” review
in the Booker opinion made it pellucidly clear that the familiar abuse-of-
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 discretion standard of review now applies to appellate review of sentencing
 decisions. Id.

       Second, it is equally clear that the sentencing judge must explain his or

 her reasons for departing from the guidelines:

      It is also clear that a district judge must give serious consideration to
 the extent of any departure from the Guidelines and must explain his
 conclusion that an unusually lenient or an unusually harsh sentence is
 appropriate in a particular case with sufficient justifications. Id.


       Third, the opinion placed certain restrictions on the extent of appellate

 review of a sentence outside the advisory guideline range, and specifically

 disapproved of certain criteria that had been utilized since Booker:

       In reviewing the reasonableness of a sentence outside the Guidelines
 range, appellate courts may therefore take the degree of variance into
 account and consider the extent of a deviation from the Guidelines. We
 reject, however, an appellate rule that requires "extraordinary"
 circumstances to justify a sentence outside the Guidelines range. We also
 reject the use of a rigid mathematical formula that uses the percentage of a
 departure as the standard for determining the strength of the justifications
 required for a specific sentence.

       Fourth, while the Court had permitted the circuit courts to adopt a

 presumption of reasonableness for sentences within the guideline range, it

 did not follow that those courts could adopt a presumption of

 unreasonableness for sentences outside the range:

 As an initial matter, the approaches we reject come too close to creating an
 impermissible presumption of unreasonableness for sentences outside the
 Guidelines range.....Even the Government has acknowledged that such a
 presumption would not be consistent with Booker.
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 Finally, the Court gave its reasons for its rejection of the “mathematical
 approach:”

       The mathematical approach also suffers from infirmities of
 application. On one side of the equation, deviations from the Guidelines
 range will always appear more extreme -- in percentage terms -- when the
 range itself is low, and a sentence of probation will always be a 100%
 departure regardless of whether the Guidelines range is 1 month or 100
 years. Moreover, quantifying the variance as a certain percentage of the
 maximum, minimum, or median prison sentence recommended by the
 Guidelines gives no weight to the “substantial restriction of freedom”
 involved in a term of supervised release or probation.

       Most importantly, both the exceptional circumstances requirement

 and the rigid mathematical formulation reflect a practice -- common among

 courts that have adopted "proportional review" -- of applying a heightened

 standard of review to sentences outside the Guidelines range. This is

 inconsistent with the rule that the abuse-of-discretion standard of review

 applies to appellate review of all sentencing decisions – whether inside or

 outside the Guidelines range.

       With its decision in Gall, the Supreme Court laid to rest any argument

 whatsoever, that trial judges are required to impose sentences within the

 sentencing guideline range. Sentencing guidelines are merely advisory.

 Courts are to impose reasonable sentences consistent with the principles set

 forth in the sentencing statute.

       The objective of the Court is justice, and the framework of justice
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 contains the ideas and outcomes of rehabilitation and recidivism.

                               CONCLUSION

      For the reasons stated in the memorandum and based upon

 consideration of the factors set forth in 18 U.S.C. §3553(a), that “the court

 shall impose a sentence, sufficient, but not greater than necessary to comply

 with the purposes set forth in 18 U.S.C. §3553(a)(2) the defense respectfully

 requests this Court to impose a sentence of below the guidelines.



                                    Respectfully Submitted

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 Dated: March 8, 2023
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                          CERTIFICATE OF SERVICE

      This is to certify that on March 8, 2023, I served a copy of this

 Sentencing Memorandum, by filing same with the Court under seal

 electronically and with motion to order to seal upon Eaton Brown, AUSA by

 email.



                                    s/ Vincent J. Toussaint
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 Dated: March 8, 2023
